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                                                                                     DLA Piptr LLP (t,s)


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               March 1, 2019                                                                   l '"iDC .--.D., \''
               HY J•:4x ONLY (212) 805-6382
                                                                                               DOCUMENT
               Honorable Judge Victor Marrero
                                                                                            , ELECTRONICALLY FILED
               United States Courthouse                                                     1 l,. ,(' #:
               500 Pearl Street, Suite I 040
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               New York, New York 1007                                                      ~               '   ,   .
                                                                                           --_;.-· _.;:·=;-J;-;J~~t;;;;;;;::!I
               Re:     Bllliga   i•.   Link Motion, et al., l:18-cv-11642-VM (S.D.N.Y.)

               Dear Honorable Judge Marrero:

               We write pursuant to your Honor's Individual Practices Rule II.A to request a conference, or the
               entry of an order without a conference, for leave to permit DLA Piper LLP (US) ("DLA") to
               withdraw as attomey of record for Link Motion Inc. (f/k/a NQ Mobile Inc.) ("Link Motion" or
               "Defendant") under Local Ruic I .4. In accordance with your Honor's Individual Practices Ruic
               11.A.2, below, we provide a "detailed description of the matter to be decided and request that it to
               be deemed and filed as a fonnal motion." Further, in accordance with Local Rule 1.4, we submit
               the attached Declaration of Caryn G. Schechtman ("Schechtman Deel.") that explains the reasons
               for withdrawal. In short, DLA requests leave to withdraw because Link Motion Irns been unable
               to pay DLA 's legal fees and has represented that it cannot do so at this time. Additionally, Link
               Motion has not cooperated in its representation by failing to respond to inquiiies. Link Motion
               also consents to DLA 's withdrawal. Further, withdrawal would not prejudice Link Motion or
               w1duly disrupt the proceedings because the case is in its early stages and the Court has appointed
               a receiver that can appoint counsel to represent Link Motion. Thus, DLA respectfully requests a
               conference, or the entry of an order without a conference, allowing DLA to withdraw as counsel.

               Local Civil Rule 1.4 states:

                       An attorney who has appeared as attorney of record for a party may be relieved or
                       displaced only by order of the Court and may not withdraw from a case without
                       leave of the Court granted by order. Such an order may be granted only upon a
                       showing by affidavit or otherwise of satisfactory reasons for withdrawal or
                       displacement and the posture of the case, including its position, if any, on the
                       calendar, and whether or not the attorney is asserting a retaining or charging lien.
                       All applications to withdraw must be served upon the client and (unless excused
                       by the Com1) upon all other parties.

               In order to detern1ine whether to grant permission to withdraw, District Courts "analyze
               two factors: the reasons for v,rithdrawal and the impact of the withdrawal on the
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               prosecution of the suit." Police Officers For A Proper Promotional Process v. Port A 11th.
               ofN.Y. & N..J., No. I l-cv-7478 (LTS) (JCF), 2012 WL 4841849, at *I (S.D.N.Y. Oct. 10,
               2012).

               First, there are at least three several satisfactory reasons for withdrawal: (I) Link Motion has
               failed to and is unable to pay DLA 's fees at this time, (2) it has failed to cooperate in its
               representation; and (3) Link Motion has consented to DLA 's withdrawaL (Schechtman Deel.           ~,r
               3-6.)

              Under NY Professional Rule of Conduct l.16(c)(5}, a lawyer may withdraw ,vhcrc the "the client
              deliberately disregards an agreement or obligation to the lawyer as to expenses or fees," and this
              Couti and other cou1ts in this circuit have agreed that a client's failure to pay legal fees
              constitutes a "satisfactory reason" for withdrawal as counsel. See, e.g._ Spadola v. N. Y. City
              Transil Auth., No. 00 CIV 3262, 2002 WL 59423, at *I (S.D.N.Y. Jan. 16, 2002) (Marrero, J.)
              (granting motion to withdraw upon "fail[ ure] to pay his attorney's fees and costs"); Police
              (?fjicers, 20 I 2 WL 4841849, at * I ('" [I]t is well-settled in the Eastern and Southern Dist1icts of
              New York that non-payment of legal fees is a valid basis for granting a motion to withdraw
              pursuant to Local Civil Rule 1.4. "'); Diarama Trading Co. v. J Walter Thompson US.A. Inc.,
              No. 0l-cv-2950 (DAB), 2005 WL 1963945, at *l (S.D.N.Y. Aug. 15, 2005) ('"Satisfactory
              reasons' include failure to pay legal fees, a client's lack of cooperation~including lack of
              communication with counsel, and 'the existence of an incconcilablc conflict between attorney
              and client."').

              Under NY Professional Ruic of Conduct 1.16(c )(7), a lawyer may also withdraw where "the
              client fails to cooperate in the representation or otherwise renders the representation
              unreasonably difiicult for the lawyer to carry out employment effectively." Karimian v. Time
              Equities, Inc., No. 10 Civ. 3773 (AKH) (JCF), 2011 WL 1900092, at *4-5 (S.D.N.Y. May 11,
              2011); see also Naguib v. Pub. Health Solutiuns, No. 12 CV 2561 (ENV) (LB), 2014 WL
              2002824, at* I (E.D.N.Y. May 15, 2014) (withdrawal motion granted where client refused to
              communicate and cooperate with counsel).


              Additionally, a client's consent to withdrawal, along with a client's lack of resom-ces to pay or
              non-payment of fees, has been found to be ''satisfactory reasons for [] withdrawal.'' Negrin v.
              Kalina, No. 09 CIV. 6234 (LGS) (KNF), 2013 WL 1736470, at *I (S.D.N.Y. Apr. 12, 2013);
              Kudo v. Simels, No. 91 CIV. 3167 (JFK), 1991 WL 278940, at *I (S.D.N.Y. Dec. 17, 1991)
              (granting motion to withdraw where client consented).
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              As described in the Declaration of Caryn G. Schechtman, prior to the filing of Plaintiff Wayne
              Baliga's Verified Shareholder Derivative Complaint ("Complaint") and Order to Show Cause
              with Temporary Restraining Order, Preliminary Injunction, and Temporary Receiver ("OSC'),
              Link Motion had failed to pay outstanding and overdue legal fees owed to DLA despite repeated
              requests to pay. Notwithstanding, at Link Motion's request, DLA appeared in this action after
              the Plaintiff filed its Complaint and OSC in order to protect Link Motion's immediate interest in
              the emergency filing and to allow Link Motion the opportunity to dctcnninc whether to contest
              the matter. Subsequently, after determining not to oppose the OSC, Link Motion has indicated
              that it does not have sufficient assets and cannot pay DLA 's legal fees at this time. Additionally,
              Link Motion has failed to cooperate in the representation by failing to respond to inquiries, thus
              making the representation unreasonably difficult for DLA to carry out its representation
              effectively. Finally, Link Motion has consented to DLA 's withdrawal. (Schechtman Deel. ,J 3-
              6.)

              Second, withdrawal would not impact the proceedings or prejudice Link Motion. When a case is
              "not on the verge of being tried" and withdrawal "will not in and of itself unnecessarily delay the
              proceedings," counsel should be permitted to withdraw. See Blue AnKel Films, Ltd., No. 08 Civ.
              6469 (DAB) (JCF), 2011 WL 672245, at *2-3 (noting that "recent case law in the Southern and
              Eastern Districts of New York has held that non-payment of legal fees alone can be a satisfactory
              reason for withdrawal," regardless of the timing of the withdrawal); Winkfield v. Kirschenbaum
              & Phillips, P.C., No. 12-cv-7424 (JMF), 2013 WL 371673, at* l (S.D.N.Y. Jan. 29, 2013)
              (same).

              This case is pre-discovery and far from trial ready. Moreover, on February I, 2019, the Couti
              appointed Robert W. Seiden, Esq., as temporary receiver ("Receiver") for the pendcncy of this
              action. (ECF 26 at II. I.) The Court granted the Receiver: (a) the power to "assume foll control
              of the Company," (id at Il.2(b )); (b) the "power to commence, continue, join in, and/or control
              any action, suit, arbitration or proceeding of any kind or nature, in the name of the Company or
              othenvise," (id. at II.2(e)): and, (c) the power to "retain one or more experts or advisors,
              including ... attorneys ... as the Receiver deems appropriate in order to carry out his duties,''
              (id. at JI.2(f)). Thus, the Receiver has the power to control this litigation and appoint counsel as
              necessary to prevent any prejudice to the Company.

              Thus, DLA respectfully requests the Court grant it leave to withdraw as counsel to Link Motion.

              We thank the Court for its attention in this matter.
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             March I. 2019
             Page Four


             Respectfully Submitted,

             s! Cann G. Schechtman
             Caryn G. Schechtman

            cc:      Robc1t W. Seiden_ Esq. (by email, rscidcn@scidcnlc!!.:al.com)
                     Michael D. Cilento, Esq. (by email, mcilento@scidcnlcgal.com)
                     Link Motion, Vincent Wenyong Shi (by email, vincent@lkmotion.com)
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               lJNlTED STA TES DlSTRlCT COURT
               SOUTHERN DISTRICT OF NEW YORK

               WAYNE BALIGA, derivatively on behalf of             Case No.: 1:18-cv-11642-VM
               LINK MOTION INC. (F/K/A NQ MOBILE
              INC.),
                                                                  DECLARATION OF CARYN G.
                                                        Plaintiff SCHECHTMAN

                                        vs.

              LINK MOTION INC. (F/K/A NQ MOBILE
              INC.), VINCENT WENYONG SHI, JlA
              LIAN, and XIAO YU,

                                                     Defendants,

                                        and

              LINK MOTION INC. (F/K/A NQ MOBILE
              INC.),

                                              Nominal Defendant.


                       Caryn G. Schechtman, hereby declares as follows:

                       I.     I am a partner at DLA Piper LLP (US) ("DLA''), which has represented and

              appeared in this matter on behalf of Link Motion Inc. (fik/a NQ Mobile Inc.) ("Link Motion" or

              "Defendant"). My colleague Marc A. Silvem1an and I have appeared as counsel for Link Motion

              during this litigation.

                       2.     Ptior to the filing of Plaintiff Wayne Baliga's Verified Shareholder Derivative

              Complaint ("Complaint") and Order to Show Cause with Temporary Restraining Order.

              Preliminary Injunction, and Temporary Receiver ("OSC"), Link Motion had failed to pay

              outstanding invoices to DLA despite repeated requests to pay
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                                                                                  12128848487                   From: Marc Silverman




                         3.   Notwithstanding, at Link Motion's request, DLA appeared in this action afte1· the

               Plaintiff filed its Complaint and OSC in order to protect Link Motion's immediate interest in the

               emergency filing and to allow Link Motion the opportw1ity to determine whether to contest the

               matter.

                         4.   Subsequently, after determining not to oppose the OSC, Link Motion has indicated

               that it docs not have sufficient assets and cannot pay DLA 's legal fees at this time.

                         5.   Link Motion has also failed to cooperate in the representation by failing to respond

               to inquiries, thus making the representation unreasonably difficult for DLA to can)' out its

               representation effectively.

                         6.   Further, Link Motion has consented to DLA 's withdrawal as counsel in this matter.

               (Attached as Exhibit A is an email from Vincent Wcnyong Shi, Chairman of the Board and Chief

               Operating Officer, Link Motion, to Caryn G. Schechtman, Esq., DLA Piper LLP (US), dated Feb.

               4, 2019.)

                         7.   Additionally, on February I, 2019, the Comt appointed Robc11 W. Seiden, Esq., as

               temporary receiver ("Receiver") for the pendency of this action. (ECF 26 at II. I.) The Court

               granted the Receiver the power to "assume full control of the Company." (Id. at ll.2(b).) The

               Receiver also has the "power to commence, continue, join in, and/or control any action, suit,

               arbitration or proceeding of any kind or nature, in the name of the Company or otherwise." (Id. at

               Il.2(e).) Finally, the Receiver has the power to "retain one or more experts or advisors, including

               ... attorneys ... as the Receiver deems approp1iate in order to carry out his duties." (Id. at

               IJ.2.(f).) The Receiver, therefore, has the power to control this litigation and appoint counsel as

               necessary to prevent any prejudice to the Company.



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                       8.     DLA is not asserting a retaining or charging lien.

                       9.     As a result, DLA respectfully requests that the Court grant it leave to withdraw as

                counsel for Link Motion.


                       l declare under penalty of pc1:jury that the foregoing is true and co1Tect. Executed on

                March l, 2019.

                                                                        sl Carvn G. Schechtman
                                                                        Caryn G. Schechtman




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                                                Exhibit A
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                                                                    28 Filed 03/01/19 Page 9 of 10                                                                                                                        From: Marc Silverman




       Silverman, Marc

       From:                                                         Vincent Shi <vincent@lkmotion.corn >
      Sent:                                                          Monday, February 04, 2019 2:25 AM
      To:                                                            Schechtman, Caryn G.
      Cc:                                                            Silverman, Marc
      Subject:                                                       Re: Baliga v. Link Motion Inc., et al., No. 1:18-cv-11642-VM (S.D.N.Y.) -PLEASE RESPOND


      [EXTERNAL]


      Confirmed




      ft 2019~2J=l 48,                   09:05, Schechtman, Caryn G.<caryn.schechtman@dlapiper.com> ~ii                                                                                     :




                                Vincent,




                                As recently discussed on the phone, DLA will be seeking to withdraw as counsel for Link
                                Motion Inc. ("Link Motion") in the litigation titled Baliga v. Link Motion Inc., et al., No.
                                l:18-cv-11642-VM (S.D.N.Y.) (the "Litigation") as a result of Link Motion's failure to pay
                                DLA's invoices and Link Motion's failure to promptly respond to DLA's inquiries
                                regarding the Litigation. In our call, you informed me that Link Motion does not have
                                sufficient assets to pay DLA's legal fees, and that I.ink Motion consented to DL.A's
                                withdrawal.




                                Kindly respond to this email with the word "Confirm" to re-confirm Link Motion's
                                consent to DLA's withdrawal as counsel in this matter.




                                Thank you,

               Caryn




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                                                                                                     Marc Silverman
                          Facsimile                                                                 T


      Date: 2019-03-01 11 :24:04 EST

       To:
                                                                                                      Fax: 12128056382




      Comments:

      Baligav. Link Motion, et al., 1:18-cv-11642-VM (S.D.N.Y.)




      Honorable Judge Marrero,

      Pursuant to your Honor's Individual Practices I.A and II.A, please find the attached correspondence and declaration with
      attachments.

      Respectfully,


      Marc

      Marc A. Silverman
      Associate

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      F +1 212.884.8487
      E marc.silverman@dlapiper.com




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